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                            No. 23-60022
__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


  MICHAEL G. KASOLAS, LIQUIDATING TRUSTEE FOR THE ROBERT
              BROWER, SR. LIQUIDATING TRUST,
                          Appellant,
                             v.
               AURORA CAPITAL ADVISORS, et. al.
                          Appellees.

On Appeal from Partial Final Judgment Entered by the United States Bankruptcy
                Court for the Northern District of California
                               Case No. 22-1215


     APPELLEE OLDFIELD CREELY, LLP’S ANSWERING BRIEF


                                    Louis H. Castoria – Bar No. 95768
                                    Arthur Gaus – Bar No. 289560
                                    Kaufman Dolowich & Voluck, LLP
                                    425 California St, 21st Floor
                                    San Francisco, California 94104
                                    Tel: 415-926-7638
                                    Fax: 415-926-7601
                                    lcastoria@kdvlaw.com
                                    agaus@kdvlaw.com
                                    Attorneys for Appellee
                                    Oldfield Creely, LLP
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               CERTIFICATION AS TO INTERESTED PARTIES

      Pursuant to Federal Rules of Appellate Procedure Rule 26.1(a), Defendant-

Appellee Oldfield Creely, LLP has no parent corporation, neither does any publicly

held corporation own 10% or more of it stock.

Signature /s/ Louis H. Castoria                    Date August 23, 2023




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        APPELLEE OLDFIELD CREELY, LLP’S ANSWERING BRIEF

                                I. INTRODUCTION

   Appellee Oldfield Creely, LLP (“Appellee”) hereby submits its Answering

Brief in opposition to the appeal of Michael G. Kasolas, the Liquidating Trustee

for the Robert Brower, Sr. Liquidating Trust (the “Bankruptcy Trustee”) arising

out of the October 6, 2022 Partial Final Judgment (the “Judgment”) entered by the

United States Bankruptcy Court for the Northern District of California (the

“bankruptcy court”] as affirmed by the Bankruptcy Appellate Panel for the Ninth

Circuit (the “BAP”) on April 12, 2023.

                       II. STATEMENT OF JURISDICTION

   Appellee does not dispute the jurisdiction of this Court. The Judgment was

affirmed by the BAP Pursuant 28 U.S.C. §§1157 and 1334. Prior to this appeal, 28

U.S.C. §158(b) provided jurisdiction to the BAP; currently this Court has

jurisdiction by force of 28 U.S.C. §158(d).

   Appellee further does not dispute the timeliness of this appeal of the

appropriateness of this Court’s consideration of this appeal under Federal Rules of

Civil Procedure 54(b). Appellee does not dispute the timeliness of the instant

appeal.

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                           III.   ISSUES PRESENTED

Issue 1: Can the Bankruptcy Estate state a claim that is has an equitable interest in

Net Proceeds from the sale of the Wine Estate Property of Debtor’s bankruptcy

estate pursuant to 11 U.S.C. §§541(a)(1), (a)(6) and/or (a)(7) and therefore subject

to avoidance action under 11 U.S.C. §549?

Standard of Review for Issue Number 1: Asset determinations with respect to

property of a bankruptcy estate is a conclusion of law reviewed de novo. In re

Anderson, 572 B.R. 743, 747 (B.A.P. 9th Cir. 2017).

Issue Number 2: Does alter ego provide a cognizable theory of relief in an

avoidance action pursuant to 11 U.S.C. §549?

Standard of Review for Issue Number 2: Asset determinations with respect to

property of a bankruptcy estate is a conclusion of law reviewed de novo. In re

Anderson, 572 B.R. 743, 747 (B.A.P. 9th Cir. 2017).

Issue Number 3: Can the Bankruptcy Estate state a claim an equitable interest in

Coastal’s Corporate Property by virtue of common ownership?

Standard of Review: Asset determinations with respect to property of a

bankruptcy estate is a conclusion of law reviewed de novo. In re Anderson, 572

B.R. 743, 747 (B.A.P. 9th Cir. 2017).

Issue 4: Can a claim of conversion be the basis of an avoidance claim under 11

U.S.C. §549?

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Standard of Review: Asset determinations with respect to property of a

bankruptcy estate is a conclusion of law reviewed de novo. In re Anderson, 572

B.R. 743, 747 (B.A.P. 9th Cir. 2017).

   Appellant did not request a rehearing or object to any evidence in the record.

Any such issues should be deemed waived.

                       IV.    STATEMENT OF THE CASE

      Through this action, the Bankruptcy Trustee seeks to avoid post-petition

transfers of property pursuant to 11 U.S.C. §549. This section permits a

bankruptcy trustee to recoup transfers of a debtor’s property where “debtor is a

willing participant.” In re Schwartz, 954 F. 2d 569, 573-74 (9th Cir. 1992). A

post-petition payment may be recovered as an unauthorized transfer of estate

property where certain requirements are met. However, in all cases, §549 can only

be used to avoid transfers of estate property. Property for purposes of §549 is

defined by 11 U.S.C. §§541(a)(1), which expressly states that the filing of

bankruptcy petition creates an estate consisting of, in essence, all the debtor’s

legal or equitable in property as of the commencement of the case.

      The property at issue is money in the form of proceeds generated by a sale

of real property (the “Net Proceeds”) owned by Coastal Cypress Corporation

(“Coastal”). The debtor in the underlying bankruptcy, Robert Brower, Sr. (the

“Debtor”) owned all shares of Coastal’s stock on the date of the bankruptcy

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petition. The Net Proceeds were never transferred to the Debtor’s bank account

and remained in Coastal’s corporate account until disbursed as payments to

creditors and to settle tax bills.

       In short, the Bankruptcy Estate can only state a theory of recovery under 11

U.S.C. §549 if it can state a claim that, on or after the date of the bankruptcy

petition it had an equitable interest in the Net Proceeds. The Bankruptcy Estate

offers four different theories as to why the Bankruptcy Estate has an equitable

interest in Coastal’s corporate property; none are availing.

       First, the Bankruptcy Trustee claims it can state a claim for avoidance under

11 U.S.C. §549 by statutory construction of “property” U.S.C. §§541(a)(1) ,

(a)(6) & (a)(7). However, Appellant’s position fails to draw to clear distinctions in

California law. The Bankruptcy Trustee fails to properly distinguish between a

shareholder’s right in the expected value of corporate shares and a shareholder’s

right to corporate property. In addition, the Appellant overlooks clear California

authority differentiating liquidation of corporate assets and liquidation of the

corporation in its entirety.

       Second, Appellant claims, in force and effect, that alter ego allegations are

sufficient under California law to state an avoidance claim under 11 U.S.C. §549.

This claim misconstrues clear California authority on the character and scope of




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alter ego theory. Alter ego serves as a theory of liability, not as a means for

dissolving entities and combining assets.

      Third, the Bankruptcy Trustee claims that, under California law, the

Debtor’s sole control of Coastal is sufficient to give the Bankruptcy Trustee an

equitable interest in Coastal’s corporate property and stating that fact alone is

sufficient to state an avoidance claim under 11 U.S.C. §549. In service of this

claim, Appellant cites unpublished, unpersuasive authority.

      Fourth, the Bankruptcy Trustee argues that he can state a conversion theory

against Coastal; on that basis he claims an equitable interest in Coastal’s corporate

property sufficient to support an avoidance claim under 11 U.S.C. §549. Because

the Bankruptcy Estate never had an ownership or possessory interest in the Net

Proceeds, any claim for conversion also fails as a matter of law.

                          V. FACTUAL BACKGROUND

      The sole property that the Bankruptcy Trustee seeks to avoid 11 U.S.C.

§549 is money generated by the sale of real property owned by Coastal. The Net

Proceeds came from the sale of real property (the “Wine Estate Property”) owned

by Coastal.

      Coastal’s April 15, 2015 sale of the Wine Estate Property came

approximately 35 days after the Debtor’s voluntary Chapter 11 Bankruptcy

Petition, creating the bankruptcy estate on March 11, 2015 (the “Petition Date”).

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[5-ER-825]1 The Schedule B included Debtor’s interest in shares of Coastal

Cypress Corporation (“Coastal”) with a value of “unknown.” [5-ER-836]

      After the sale of the Wine Estate Property, the Net Proceeds, approximately

$7,000,000.00 in a corporate account owned by Coastal amounted to the to the

totality of Coastal’s corporate property. The Net Proceeds were not transferred to

Debtor’s personal bank account.

      Following both the creation of the Bankruptcy Estate and the sale of the

Wine Estate Property, MUFG Union Bank N.A. (“the Bank”) initiated an

adversary proceeding. [5-ER-864] Through that proceeding, the bankruptcy court

determined Debtor owned 100% of Coastal shares [5-ER-689-705]

      After the petition date, Coastal still maintained significant unresolved

liabilities, including but not limited to, tax liabilities. [2-ER-228-9]

      On November 6, 2017, the Bank confirmed the chapter 11 reorganization

plan. Nearly three years later, on September 15, 2020, the plan took effect and

awarded the Bankruptcy Trustee with the power to prosecute claims on behalf the

Debtor’s Bankruptcy Estate and the power to liquidate all of Bankruptcy Estates’

assets. Although Coastal remained a non-operating entity owned by the Debtor,




1
 For purpose of simplicity, Appellee’s citations are all to Appellant’s Excerpts of
Record.
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whose corporate assets had been liquidated through his personal bankruptcy,

Coastal continued to make transactions as late as February/March 2021.

           VI.   BANKRUPTCY JUDGMENT AND BAP APPEAL

      The Bankruptcy Trustee’s initial Complaint seeking avoidance under 11

U.S.C. §549 (the “Original Complaint”) was filed on July 22, 2021. Defendant-

Appellant Oldfield Creely responded to the Original Complaint with a motion to

dismiss as to each cause of action under Federal Rule of Civil Procedure 12(b)(6).

      The bankruptcy court observed that Coastal continued to make corporate

transactions until February or March 2021. [3-ER-511, ln. 6-11] On that basis the

Net Proceeds were not property of the Bankruptcy Estate. Noting that the

Bankruptcy Trustee’s First, Fourth, Sixth, Ninth and Tenth claims all turned on

whether the Net Proceeds were assets of the Bankruptcy Estate, the bankruptcy

court granted the motion to dismiss with leave to amend. [3-ER-512, ln. 5-10]

         A. The FAC Memorandum Decision
      The Bankruptcy Trustee filed a First Amended Complaint (‘FAC”) on

December 23, 2021. In force and effect, the FAC contained the same theory of

recovery as the Original Complaint, but added alter ego allegations. Again,

Defendant Appellant moved to dismiss the FAC under Federal Rule of Civil

Procedure 12(b)(6). On March 24, 2022, the bankruptcy court entered a

Memorandum Decision (the “FAC Memorandum Decision”) elaborating on its


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earlier findings that the Net Proceeds could not be subject to avoidance under 11

U.S.C. §549 because they were not property of the Bankruptcy Estate. [1-ER-69]

             1. The FAC Memorandum Decision Correctly Determined that
                the Net Proceeds Were Not Estate Property

      In the FAC Memorandum Decision, the bankruptcy court correctly drew

upon well-settled California law which recognizes that corporate forms have a

“personality that is distinct from that of its shareholders” and therefore a

shareholder “does not own the corporate property.” [1-ER-69] Accordingly, the

bankruptcy court recognized the distinction between Debtor’s ownership of shares

in Coastal’s stock and non-ownership of corporate property, noting that “Thus, it

is clear that had Debtor owned the real property instead of Coastal, then upon sale

of the property, the funds received would be property of the estate. But the

proceeds received from the sale of corporate assets—i.e. Coastal’s real property—

are not proceeds of Debtor’s shares.” [1-ER-70] Accordingly, the bankruptcy court

found that the Net Proceeds were not estate property under 11 U.S.C 541(a)(1),

541(a)(6) or 541(a)(7).

             2. The FAC Memorandum Correctly Held that Alter Ego
                Liability Does Not Present a Cognizable Legal Basis

   Turning to the Bankruptcy Trustee’s alter ego allegations [1-ER-6-72], the

bankruptcy court correctly noted that “under California law because alter ego is

used to establish liability, not combine the assets of two distinct entities into one.”


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[1-ER-70] Drawing the distinction in California law between alter ego liability—

which breaches but does not combine corporate alter egos—and the total

dissolution of distinct corporate identities, the FAC Memorandum Decision

correctly held that the “theory of alter ego liability breaks down though the

corporate wall in order to create some liability on another party to prevent

injustice. It does not allow a parent to take assets out of a subsidiary.” See

Communist Party v. 522 Valencia, Inc. (1995) 35 Cal.App.4th 980. On that basis,

the bankruptcy court concluded that the Bankruptcy Trustee’s alter ego

allegations, as pled, did not create an equitable interest in the Net Proceeds and,

therefore, could not provide the basis for an 11 U.S.C. §549. Concluding that

“alter ego does not provide a cognizable theory for Coastal’s assets to become

assets of Debtor’s estate”, the bankruptcy court granted Appellee’s motion under

Federal Rules of Civil Procedure 12(b)(6) with leave to amend.

          B. The SAC Memorandum Decision
   Taking leave to amend, the Bankruptcy Trustee filed a Second Amended

Complaint on April 12, 2022. In an attempt to bolster the claim that the

Bankruptcy Estate had an equitable interest in the Net Proceeds sufficient to make

it property for purposes of 11 U.S.C 541(a)(1), 541(a)(6) or 541(a)(7), the

Bankruptcy Estate set forth the premise that the sale of the Wine Estate Property

constituted a “Liqudation Event” under Coastal’s Articles of Incorporation which


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automatically converted the Net Proceeds from an expectancy interest into a

cognizable property right. Defendant-Appellee responded with a third motion to

dismiss under Federal Rules of Civil Procedure 12(b)(6). After hearing, the

bankruptcy court entered a Memorandum Decision (the “SAC Memorandum

Decision”)

   In granting the 12(b)(6) Motion, the bankruptcy court directly addressed the

Bankruptcy Estate’s claim that a Liquidation Event converted the Trustee’s

“expectancy interest” in the value of Coastal Shares into a property right. [1-ER-

50] In reaching its conclusion the bankruptcy court correctly drew the distinction

between a “Liquidation Event” as defined by the Articles of Incorporation, and the

legal liquidation of Coastal under California law. [1-ER-50] The bankruptcy court

observed that even in the event of a Liquidation Event, Coastal could not legally

dissolve and disburse assets to shareholders until it paid all creditors and taxes.

Taking note of the fact that the Parties did not dispute that Coastal still owed taxes

until at least 2020 [Id.], and that Coastal continued to make transactions under

February or March 2021, [Id.] the bankruptcy court correctly concluded that until

all creditors and takes has been paid, the Bankruptcy Estate’s held only an

expectancy interest in the future value of the shares rather than a vested property

interest, “Debtor’s estate only held an expectancy interest in the future value of

Coastal, which was subject to Debtor’s diminishment until Coastal was actually


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liquidated.” [1-ER-51-52] On this basis, the bankruptcy court granted the 12(b)(6)

motion without leave to amend.

          C. 54(b) Motion Entry of Judgment, and BAP Affirmation
      On October 6, 2022, the bankruptcy court entered an order granting the

Bankruptcy Trustee’s motion for partial judgment. In so doing, the bankruptcy

court fully incorporated its previous findings in the FAC Memorandum Opinion

with respect to 11 U.S.C 541(a)(1), 541(a)(6) or 541(a)(7) and alter ego theory as

well as its findings in the SAC Memorandum Opinion with respect to the interest

created by Coastal’s articles of incorporation. [1-ER-33]

   Following, the Trustee’s timely appeal on October 13, 2022, the BAP, applying

de novo review, entered a judgment affirming the bankruptcy court’s entry of

judgment and, in turn, the underlying basis as expressed in the FAC Memorandum

Decision and the SAC Memorandum Decision.

             1. The BAP Affirmed the Bankruptcy Court’s Findings
                Regarding the Liquidation Event with respect to 11 U.S.C
                541(a)(1), 541(a)(6) or 541(a)(7)

   The BAP first addressed the Bankruptcy Trustee’s claim that it had an equitable

interest in the Net Proceeds sufficient to make it property under 11 U.S.C 541(a)(1),

541(a)(6) or 541(a)(7). [1-ER-15-19] In so doing, the BAP re-addressed the

Bankruptcy Trustee’s contention that the sale of the Wine Estate Property was a

"Liquidation Event" under Coastal's articles, and, as a consequence, the Bankruptcy

Estate had "an absolute right to the Net Proceeds . . . when Coastal was liquidated.”
                                          11
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   Echoing the distinction draw by the bankruptcy court, the BAP correctly reasoned

that Debtor’s ownership interest in Coastal’s shares—which was indisputably property

of the estate—and Debtor’s interest in Coastal’s corporate assets, i.e. the Net Proceeds

were not equivalent. [1-ER-15-16] Looking to California’s well-settled law of

corporate forms, the BAP affirmed the principle that a shareholder "does not own

the corporate property.” [Id.] Furthermore the BAP specifically affirmed that a

shareholder “simply has an expectancy” in corporate property and corporate

earnings until liquidation or declaration of a dividend, a proposition that the BAP

described as “beyond cavil.” [1-ER-15] Citing to California decisional law, the

BAP affirmed both the longstanding underlying principle that shareholders

ownership of stock confers no interest the property or the earnings of the

corporation and the bankruptcy court’s conclusion that the funds constituting the

Net Proceeds would become property of the estate only if and when either a) Mr.

Brower received them or b) funds were set aside to pay dividends to him. [1-

ER-18-19]

   Furthermore, the BAP took aim squarely at the “fundamental flaw” in the

Trustee's reasoning, a reasoning that he repeats in the instant appeal. [1-ER-16-

17] The BAP in correctly observed that the Trustee’s interpretation of the

Liquidation Event “conflates liquidation of a corporation's assets with liquidation

of the corporation itself.” Drawing upon California Corporations Code §2004,


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the BAP found that the force Liquidation Event described in Article III.B.2(c)(i)

of Coastal’s Articles of Incorporation was simply insufficient to change the

shareholder interest from an expectancy into a vested property right. [1-ER-19]

             2. The BAP Affirmed the Bankruptcy Court’s Findings With
                Respect to The Bankruptcy Trustee’s Alter Ego Claims

   Next, the BAP squarely addressed the Bankruptcy Trustee’s argument that

alter ego theory is a cognizable legal theory for combining Coastal’s corporate

assets with Debtor’s personal assets and therefore subject to avoidance under

11 U.S.C. 549. [1-ER-22-25] The argument was rejected by the BAP,

affirming the bankruptcy court’s findings.

   Again looking to California law for the definition and legal consequences of

the alter ego doctrine, the BAP correctly reasoned that under California law, the

concern of the alter ego doctrine is not "whether the corporate entity should be

disregarded for all purposes or whether its very purpose was to defraud the

innocent party," but rather "whether in the particular case presented, justice and

equity can best be accomplished and fraud and unfairness defeated by

disregarding the distinct entity of the corporate form." Communist Party v. 522

Valencia, Inc. (1995) 35 Cal.App.4th 980, 993. [1-ER-23] Accordingly, the BAP

held that California law construes alter ego as a mechanism to impose liability,

not a mechanism for merging the assets of two entities into one. [Id.]



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   Turning then to the specific question of alter ego as applied to bankruptcy

jurisprudence, the BAP correctly noted that the limited nature of alter ego

doctrine could not function as a means to treat Debtor and Coastal as

equivalents. Noting that the bankruptcy court “correctly applied” both general

and specific California authority on the limited nature of alter ego, the BAP

concluded that Appellant could not cannot plausibly use alter ego to plead that

the Net Proceeds were property of the bankruptcy estate. Accordingly, the BAP

affirmed the bankruptcy Court’s dismissal first, third, fourth, fifth, eighth, and

ninth causes of action in the SAC. [1-ER-29]

              3. The BAP Rejected The Bankruptcy Trustee’s Equitable
                 Claims Regarding the Common Ownership and Control
                 Between Debtor and Coastal

   Separately, the BAP addressed the Bankruptcy Trustee’s contention— repeated in

the instant appeal—that the Net Proceeds became property of the estate under

§541(a)(1) by virtue of Debtor’s sole ownership and control of Coastal. The BAP

correctly rejected this argument.

   Again, correctly looking to California law, the BAP affirmed that the distinction

between shareholders and the corporation itself is a “basic tenet of American corporate

law.” [1-ER-19-22] Correctly observing the application of that principle in the

bankruptcy context, the BAP again noted that although Debtor owned 100 percent

of Coastal's shares and that those shares became property of the Bankruptcy Estate


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on the March 15, 2015 Petition Date, Debtor had no ownership interest Coastal's

assets, i.e. the Net Proceeds. Therefore, the Bankruptcy’s equitable common

ownership claims could not provide a basis for a finding that the Net Proceeds were

§541(a)(1) and affirmed the bankruptcy court’s dismissal under F.R.C.P. 12(b)(6).

                    VII. SUMMARY OF THE ARGUMENT

   The BAP and the bankruptcy court did not err in finding that the Bankruptcy

Trustee could not state a claim that it had a property interest in the Net Proceeds

and therefore could not avoid transfers of the Net Proceeds in an action under 11

U.S.C. 549.

   First, the bankruptcy court correctly interpreted the nature of the corporate form

and the nature of shareholder rights in considering the legal force of the

Liquidation Event under Coastal’s Articles of Incorporation. The lower courts did

not misapply California law, specifically California Corporations Code §2004 in

concluding that, until Coastal provided for all debts and taxes, it could not dissolve

the corporation and distribute corporate assets to shareholders. Furthermore, the

lower courts correctly understood and applied the clear distinction between the

declaration of a dividend and a liquidation through bankruptcy.

   Second, the bankruptcy court and the BAP did not err in concluding that alter

ego doctrine did not provide a cognizable legal basis for dissolving the distinction

between Debtor and Coastal and/or combining their assets for purposes of an 11

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U.S.C. §549 avoidance claim. The lower courts correctly construed alter ego as a

limited-purpose legal mechanism for the apportionment of liability, not an all-

purpose mechanism for complete disregard of the corporate form.

   Third, the lower courts did not err in rejecting the Bankruptcy Trustee’s claim

that the Debtor’s complete ownership of Coastal created an equitable interest in the

Net Proceeds for purposes of an 11 U.S.C. §549 avoidance claim. Correctly

applying California authority, and rejecting the Bankruptcy Trustee’s reliance on

out-of-state authority, the BAP affirmed the well-settled principle that the character

of shareholder ownership is distinct and different than ownership of corporate

assets.

   Fourth, the lower courts did not err in rejecting the Bankruptcy Trustee’s

conversion claim. The lower courts correctly recognized that a conversion claim, at

minimum, requires a finding that the Bankruptcy had a cognizable property right in

the Net Proceeds. Consequently, the lower courts correctly found that since the

Bankruptcy Estate could not allege an equitable interest in the Net Proceeds, it

could maintain a claim for conversion therein.

                                 VIII. ARGUMENT
            A. Federal Rules of Civil Procedure 12(b)(6)
   Under Civil Rule 12(b)(6), a court must dismiss a complaint that fails to state a

claim upon which relief can be granted. To survive a motion to dismiss, the

plaintiff must present cognizable legal theories and sufficient factual allegations to

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support those theories; in other words, "enough facts to state a claim to relief that

is plausible on its face." Bell Atlantic Corp. v. Twombly (2007) 550 U.S. 544, 570;

see also Johnson v. Riverside Healthcare System, LP (9th Cir. 2008) 534 F.3d

1116, 1121-22. A claim is facially plausible when the plaintiff pleads facts that

"allow[] the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged." Ashcroft v. Iqbal (2009) 556 U.S. 662, 678 (internal

citation omitted). While courts do not require "heightened fact pleading of

specifics," a plaintiff must allege facts sufficient to "raise a right to relief above

the speculative level[.]" Twombly, 550 U.S. at 555, 570.

      In deciding whether the complaint states a claim upon which relief can be

granted, the court accepts the allegations as true and draws all reasonable

inferences in favor of the plaintiff. Usher v. City of Los Angeles (9th Cir. 1987)

828 F.2d 556, 561. But the court is not required to accept as true "allegations that

are merely conclusory, unwarranted deductions of fact, or unreasonable

inferences." In re Gilead Sciences Securities Litigation (9th Cir. 2008) 536 F.3d

1049, 1055. Appellate review must also accept well-pleaded allegations, but not

mere conclusions, as true.

          B. Appellant Did Not and Cannot Adequately Plead That Debtor Has
             An Equitable Ownership Interest In Coastal’s Corporate Assets
      As affirmed by the BAP, the bankruptcy court did not err in concluding that

   the Bankruptcy Trustee is unable state a claim upon which relief under 11

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   U.S.C. §549(a) can be granted. At minimum, recovery under this section

   requires a finding that the transfer was initiated by the debtor himself and

   involved property of the estate. “§549 provides a remedy to creditors when the

   debtor himself initiates an unauthorized post-petition transfer of estate

   property.” In re Paige (Bankr. D. Utah 2009) 413 B.R. 882, 913–914, aff'd (D.

   Utah 2011) 443 B.R. 878, aff'd in part, rev'd in part (10th Cir. 2012) 685 F.3d

   1160. As determined by the bankruptcy court and affirmed by the BAP, while

   Bankruptcy Estate undoubtedly owned Debtor’s shares in Coastal, there is no

   basis is California law for finding that the Bankruptcy Estate could maintain an

   equitable interest in Coastal’s corporate assets. On this basis, this Court should

   follow the path cleared by both the bankruptcy court and the BAP and re-affirm

   dismissal of this action under Federal Rules of Civil Procedure 12(b(6) with

   prejudice.

             1. Shareholders Own Only An Interest In Prospective Future
                Value of Shares

      The Parties do not disagree on the basic analytical framework: 11 U.S.C.

549 directs that all legal and equitable property interests as of the petition date are

property of the bankruptcy estate and “bankruptcy courts must look to state law to

determine whether and to what extent the debtor has any legal or equitable interests

in property as of the commencement of the case." In re First Protection, Inc.

(B.A.P. 9th Cir. 2010) 440 B.R. 821, 828 (quoting In re Pettit (9th Cir. 2000) 217

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F.3d 1072, 10780 Accordingly, California law concerning the property at issue is

controlling.

      The Parties do not dispute that Debtor’s shares in Coastal were property of

the estate. Rather, the dispute is whether Debtor maintained an equitable interest in

Coastal’s corporate assets, i.e. Net Proceeds generated from a sale of real property

owned by Coastal. On this specific question, California law could not be more

clear: A shareholder "does not own the corporate property." Miller v. McColgan

(1941) 17 Cal.2d 432, 436 [110 P.2d 419] Rather, “[a] corporation has a

personality distinct from that of its shareholders, and that the latter neither own the

corporate property nor the corporate earnings. The shareholder simply has an

expectancy in each, and he becomes the owner of a portion of each only when the

corporation is liquidated by action of the directors or when a portion of the

corporation's earnings is segregated and set aside for dividend payments.” Id.; see

also Nelson v. Anderson (1999) 72 Cal.App.4th 111, 126, as modified on denial of

reh'g (June 14, 1999) (stating that "[s]hareholders own neither the property nor the

earnings of the corporation. . . . Shareholders own only stock . . .") Following these

clear directives, the bankruptcy court stated “proceeds received from the sale of

corporate assets—i.e. Coastal’s real property—are not proceeds of Debtor’s

shares.” [1-ER-20] The BAP also followed these clear directives and applying de

novo review in concluding “only Mr. Brower's right (if any) to receive funds from


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Coastal was property of the estate; the funds would become property of the estate

only if and when Mr. Brower received them (or if and when funds were set aside to

pay dividends to him).” [1-ER-16, emphasis added] This panel should not disturb

these findings.

             2. The Liquidation Event Did Not Create an Equitable Interest
                in the Net Proceeds

      In an effort sidestep the direct logical path laid by California law relating to

the nature of shareholder rights, the Bankruptcy Estate follows a long, winding

and attenuated path in averring that the “Liquidation Event” as defined by Articles

of Incorporation transformed Debtor’s expectancy interest in the value of

Coastal’s shares into vested property interest in Coastal’s assets. In force and

effect, the Bankruptcy contends that after the sale of the Wine Estate Property no

more “contingent events” remained and concludes that “[O]nce the Liquidation

even occurred, the Articles mandated a distribution of Net Proceeds to the estate.”

In support of this conclusion looks past California statutory to authorities far

outside the boundaries of bankruptcy jurisprudence and disregards key facts. The

Court should remain on the clear path and affirm the findings of the bankruptcy

court and the de novo review of the BAP.

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                  i. The Bankruptcy Estate Conflates the “Liquidation Event”
                     under the Articles of Incorporation with Liquidation of
                     the Corporation under California Law
      The Trustee's argument rests on the premise that the sale of the Wine Estate

automatically vested in Mr. Brower ownership of the Net Proceeds. According to

Article III.B.2(c)(i), a "Liquidation Event" includes "a sale, lease, exclusive license

or other disposition of all or substantially all of the assets, technology or

intellectual property of the corporation . . . ." Upon the occurrence of a Liquidation

Event, the stockholders "shall be entitled to receive" the remaining assets of the

company. By its plain language, the Liquidation Event only describes a liquidation

of Coastal’s property.

      The fundamental flaw in the Bankruptcy Trustee's argument is that he

conflates liquidation of a corporation's assets with liquidation of the corporation

itself. The sale (i.e., the conversion to liquid form) of a corporation's assets is not

the same as liquidating the corporation. In re Traung's Estate (1947) 30 Cal.2d

811, 814. ("[E]ven the sale of all of the property of a corporation does not work

a dissolution or liquidation of it. Liquidation of a corporation is defined as 'the

operation of winding up its affairs by realizing its assets, paying its debts and

appropriating the amount of profit or loss.” See also Manson v. Shepherd (2010)

188 Cal.App.4th 1244, 1262–1263, reaffirming the well-settled definition of

corporate liquidation as “the operation of winding up its affairs by realizing its


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assets, paying its debts and appropriating the amount of profit or loss.” [Internal

citations omitted]

      By conflating the Liquidation Event with a liquidation of the corporation,

the Bankruptcy Estate’s position is heedless to California Corporations Code

§2004 which provides: "After determining that all the known debts and

liabilities of a corporation in the process of winding up have been paid or

adequately provided for, the board shall distribute all the remaining corporate

assets among the shareholders according to their respective rights and

preferences . . . ." [Emphasis Added] By its plain language, California

Corporations Code §2004 mandates distribution of the corporation's assets after

the debts and liabilities have been "paid or adequately provided for." See

Penasquitos, Inc. v. Superior Court (1991) 53 Cal.3d 1180, 1191 (holding that a

corporation cannot distribute its assets until it has paid or made provisions for all

known debts and obligations). This is to say that until all debts and obligations

were paid, shareholders in Coastal only had expectancy interest in the future

value of Coastal, which was subject to diminishment until Coastal was actually

liquidated.

      The decision of both the bankruptcy courts and BAP were correct in their

recognition that after the sale of the Wine Estate Property, Coastal still owed

outstanding taxes and continued to make transactions into February 2021.


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Therefore, it is both legally and factually correct that until the corporation was

actually liquidated, the Bankruptcy Estate had only an expectancy in the future

value of its shares in Coastal. The fact that subsequent events rendered the value

of those shares to zero does not alter the analysis.

                 ii. Appellant’s Authorities on the Character of Corporate
                     Ownership Are Inapposite
      Furthermore, the authoritative support for the Bankruptcy Estate’s

description of the metamorphosis from “mere expectancy” into “vested property

right” is unpersuasive. Citing to Civil War-era authorities on the general character

on corporate powers, the Bankruptcy Estate concludes that the bankruptcy court

and the BAP’s reliance on Corporations Code §2004. The authoritative basis for

Appellant’s conclusion is both unavailing and inapposite.

      In citing extensively, Estate of Mitchell (1999) 76 Cal.App.4th 1378, 1392

looks to the law of intestacy and community property for the premise that a

potential for revocation of a right is the sole distinguishing characteristic of a

vested property right. Similarly, Appellant cites to Stephenson v. Drever (1997) 16

Cal.4th 1167, 1177 and In re Plaza de Retiro, Inc. (Bankr. D.N.M., Oct. 24, 2018,

No. 09-10974-T11) 2018 WL 5304724, at *3, analogizing the vesting character of

corporate shares to corporate dividends. Neither comparison is persuasive.

      The right at issue in Mitchell, 76 Cal.App.4th 1378 was a surviving spouse’s

interest in a tenancy-in-common where spouse died during marriage dissolution

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proceeding. Id at 1392. Analyzing the change in character of the surviving

spouse’s property interest in the joint tenancy after the death of the other spouse,

the Mitchell court concluded that a severance of a joint tenancy during a marriage

dissolution did not violate the trial court’s earlier TRO because it only effected the

“expectancy interest” of the value of the right to survivorship of the other spouse.

Id. However, the Mitchell decision rested heavily on an entirely different statutory

apparatus, The California Family Code. Id. at 1393. This analysis has little bearing

on the instant analysis originating in the overlay of the United States Bankruptcy

Code and the California Corporations Code.

             3. The Bankruptcy Court and BAP Did Not Err In Disregarding
                The Law of Corporate Dividends

      The Bankruptcy Estate at Opening Brief sections V.B.3 and V.C claim, in

essence, that because the sale of the Wine Estate Property was a Liquidation Event

under Coastal’s Articles of Incorporation, the Bankruptcy Estate’s interest was that

of a declaration of a corporate dividend. Although the declaration of a dividend

changes a shareholder’s expectancy into a vested property right, the Bankruptcy

Estate’s analogy ignores the factual nature of a dividend as a opposed to a

bankruptcy liquidation, chiefly that a dividend is a surplus, set aside for

distribution shareholders consistent with priority. Said another way, a dividend sets

aside a non-zero amount of funds and distributes those funds according to

shareholder status. By contrast, shareholders in a corporation may ultimately have

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a share value of zero. Accordingly, any interest in a value above zero is a mere

expectancy. Stephenson and In re Plaza de Retiro, Inc, supra are inapposite as they

analogize the instant corporate liquidation to the expectancy created by the

declaration of a corporate dividend.

   Again, ignoring the clear factual difference between the declaration of a

dividend and the sale of corporate property during a liquidation, the Bankruptcy

Estate, at Section V.C, looks again to the law of corporate dividends, rather than

liquidation, in support of its alternative premise that the corporate liquidation of

Coastal was actually a corporate dividend in disguise, vesting the estate with

property rights in the funds that constituted the Net Proceeds. The Bankruptcy

Estate follows that because the distribution of the Net Proceeds could have been

considered a divided for tax purposes it must be treated as a dividend in the

bankruptcy analysis. The Bankruptcy Estate cites to Rice v. Downs (2021) 73

Cal.App.5th 213 for the premise that California Courts “recognize this concept.”

However, the Bankruptcy Trustee cites no authority supporting a conclusion that

this construction is mandatory or even applicable in this instant setting—as the

Bankruptcy Estate acknowledges, Rice relies entirely on California statutes relating

to distributions made to members of a Limited Liability Corporation, not

shareholders of a corporation. There is little reason to consider the Bankruptcy

Trustee’s authority on this point.


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      Secondly, in support of his argument, the Bankruptcy Trustee lists a series of

benefits conferred by Coastal to Defendant-Appellees after the petition date and

concludes that the lower courts could have treated those distributions as a dividend,

but offers no fact or authority supporting why it was reversible legal error to

refrain from doing so.

         C. The Lower Courts Were Correct in Their Determination That
            Alter Ego Does Not Provide A Cognizable Basis For Relief
   The Bankruptcy Estate also uses the instant appeal to reboot his contention that

alter ego provides a cognizable theory for treating combining Coastal’s corporate

property as equivalent to Debtor’s personal property for purposes of 11 U.S.C

§549. The lower courts did not err in rejecting this contention.

             1. Alter Ego Is Not Limited Use Procedural Mechanism, Not A
                Remedy

      Repeating arguments from his previous appeal, Appellant argues that

and Coastal were alter egos of each other, such that the bankruptcy court

should treat Coastal's assets as assets of the Bankruptcy Estate. However, as

correctly noted by the BAP, under California law, the concern of the alter ego

doctrine is not "whether the corporate entity should be disregarded for all

purposes or whether its very purpose was to defraud the innocent party," but

rather "whether in the particular case presented, justice and equity can best be

accomplished and fraud and unfairness defeated by disregarding the distinct

entity of the corporate form." Communist Party v. 522 Valencia, Inc. (1995) 35
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Cal.App.4th 980 see also Sonora Diamond Corp. v. Superior Court (2000) 83

Cal.App.4th 523, 538 ("A corporate identity may be disregarded—the

'corporate veil' pierced—where an abuse of the corporate privilege justifies

holding the equitable ownership of a corporation liable for the actions of the

corporation.") California courts have made clear that the alter ego doctrine is

limited purpose mechanism to attribute liability for corporate subsidiaries for

acts of their parent corporation, not to wholly disregard the corporation's

existence. As the BAP’s citation to California Supreme Court Authority Mesler

v. Bragg Management Co. (1985) 39 Cal.3d 290 explained:

      It is not that a corporation will be held liable for the acts of
      another corporation because there is really only one corporation.
      Rather, it is that under certain circumstances a hole will be
      drilled in the wall of limited liability erected by the corporate
      form; for all purposes other than that for which the hole was
      drilled, the wall still stands. When it is claimed that a parent
      corporation should be liable because it is the alter ego of its
      subsidiary, equity commands that the corporate wall be breached.
      Yet the wall remains: the parent is liable through the acts of the
      subsidiary, but as a separate entity.
      Equally apt was the BAP’s citation to In re Schaefers (B.A.P. 9th

Cir. 2020) 623 B.R. 777784-85, construing alter ego in the bankruptcy

setting:

             Alter ego is not a claim or cause of action that, when
      successful, treats the owner and the company as the same
      legal entity for all purposes. Rather, it is a procedural device that
      permits courts to disregard the legal separateness between a

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       business entity and an owner for limited purposes — such as
       where the corporate form is being used by the individuals to
       escape personal liability, sanction a fraud, or promote injustice.
       Typically, the entity's separate identity is disregarded so that the
       corporation will be liable for acts of the stockholders or the
       stockholders liable for acts done in the name of the corporation.
        (emphases added) (citations and quotation marks omitted).
       The Bankruptcy Estate again cites to Singh v. Singh (In re Singh), BAP No.

CC-17-1353-FLS, 2019 WL 1231146 (9th Cir. BAP Mar. 14, 2019) for the premise

that alter ego may inform an analysis of corporate transfers property within the

context of discharge petition under 11 U.S.C. 727(a). But as noted but the BAP

“These considerations do not apply to avoidance claims under §549.” Appellant

cites no new authority rebutting the BAP’s construction of Singh or compelling a

different conclusion. There is no basis to disturb the BAP’s reliance on well-

settled authorities.

              2. The Lower Court Did Not Misapply the Alter Ego Doctrine

With respect to its alter ego allegations, Appellant contends that the BAP

misapplied California authority on the use of alter ego. Specifically, Appellant

takes issues with the BAP’s citation to Leslie v. Bartamian (In re Mihranian), BAP

No. CC-16-1378-KuFTa, 2017 WL 2775043. In sum, Appellant takes the position

that Mihanian is unsound to the extent that it relies on Postal Instant Press, Inc. v.

Kaswa Corp. (2008) 162 Cal.App.4th 1510 for a “broad, all-encompassing rule of

no reverse piercing in California.” However, Appellant’s citation Curci

Investments, LLC v. Baldwin (2017) 14 Cal.App.5th 214 is equally unsound.
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While correctly noting that reverse piercing may be available in the context of an

LLC, Curci Investments left undisturbed the rule against reverse veil piercing with

respect to corporations. “Curci seeks to disregard the separate status of an LLC,

not a corporation. The court's decision Postal Instant Press was expressly limited

to corporations.” Curci Investments, LLC at 222. In short, Appellant cites no

authority supporting the premise that the reverse piercing contemplated by the

instant alter ego allegations can be used against a corporation, only that it is not

categorically prohibited against an LLC. This is simply insufficient to support a

conclusion that the BAP misapplied the alter ego doctrine.

          D. Sole Control
   Again arguing in the alternative, the Bankruptcy Trustee contends that it can state

an avoidance claim under 11 U.S.C. 549 because Debtor’s sole ownership and control

of Coastal shares made the Bankruptcy Estate the equitable owner of Coastal's assets

for purposes of §541(a)(1). In rejecting this claim, the BAP ruled correctly.

              1. Sole Control of Corporate Shares is Distinct From Ownership
                 of Corporate Property

   The BAP acknowledged that while §541(a)(1) includes "all legal or equitable

interests of the debtor in property as of the commencement of the case." However, it

also returned to basic principles of the corporate form in determining that “it does not

follow that Coastal's assets were property of Debtor’s estate, because even the owner

of all of a corporation's stock does not own the corporation's assets.” See Dole Food

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Co. v. Patrickson (2003) 538 U.S. 468, 474-75 (2003). The BAP’s conclusion is

compelled by the essential character of the of the corporate form. "A basic tenet of

American corporate law is that the corporation and its shareholders are distinct entities.

. . . A corporate parent which owns the shares of a subsidiary does not, for that reason

alone, own or have legal title to the assets of the subsidiary.” Sonora Diamond

Corp., supra, 83 Cal. App. 4th 523, 538.

       This basic tenet applies in equal force in the bankruptcy context in California.

See, e.g., Leslie v. Bartamian (In re Mihranian), BAP No. CC-16-1378-KuFTa,

2017 WL 2775043, at *5-6 (9th Cir. BAP June 29, 2017) (affirming the dismissal of

a fraudulent transfer claim and holding that fees earned by the debtor's wholly-

owned corporation were not the debtor's assets and "[t]o hold otherwise would

ignore the legal separateness of [the corporation]"); see also In re Shapow (Bankr.

C.D. Cal. 2019) 599 B.R. 51 (citing authority and holding that corporate assets did

not belong to the debtor for the purposes of a §727(a)(4) claim). There is no present

dispute that Debtor owned 100 percent of Coastal's shares or that those shares

became property of Debtor’s Bankruptcy Estate on the Petition Date. But nothing,

not even common ownership, can be alleged that can fully erase the separateness of

Coastal and Debtor as legal entities.

       The Bankruptcy Trustee recycles his citations to In re Retz (9th Cir. 2010)

606 F.3d 1189 for the premise that the Ninth Circuit has “recognized the concept”


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that sole control of a corporation can inform an analysis of property considerations

under 11 U.S.C. 727(a). However, the BAP correct when it noted that Retz stands

only for the “unremarkable proposition that a debtor's interest in a corporation

becomes property of the estate.” Bankruptcy Trustee’s sole California authority

submitted in support of this proposition is In re Yona (Bankr. C.D. Cal., June 8,

2017, No. 2:16-BK-17549-ER) 2017 WL 2491493, at *2 which does not support

the Bankruptcy Trustee's argument. As noted by the bankruptcy court and affirmed

by the BAP, In re Yona held that the debtors' estate included the debtors' shares in

two wholly-owned corporations. [Id. at *2] However, nowhere In re Yona state that

the assets of the two corporations were property of the debtors' estate. Appellant’s

construction of In re Yona stretches it far beyond its cognizable boundaries.

              2. Appellant’s Assertions With Respect to Sole Control of Shares
                 Relies on Non-California Authorities

       The Bankruptcy Trustee largely relies on cases that do not construe California

law including Appellant’s remaining authorities In re Baker (Bankr. D. Or. 1986) 68

B.R. 360. As noted by the BAP, the Ninth Circuit has made it clear that state law

defines property rights for bankruptcy purposes. In re Fitness Holdings Intern., Inc.

(9th Cir. 2013) 714 F.3d 1141, 1147 ("[A] court must determine whether the asserted

interest in the debtor's assets is a 'right to payment' recognized under state law[.]" In so

holding, the Ninth Circuit relied on the Supreme Court's decision in Butner v. U.S.

(1979) 440 U.S. 48, 54 which stated that "Congress has generally left the determination

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of property rights in the assets of a bankrupt's estate to state law." In California, the

assets of a corporation, even a corporation with only one shareholder, are not the

property of the shareholder. A bankruptcy court in this circuit may not disregard this

principle of state law.

       Accordingly, the BAP was wholly correct in its rejection of the Bankruptcy

Trustee’s “reliance on cases that are at odds with California law.” Specifically, the

BAP rejected reliance on DZ Bank AG Deutsche Zentral-Genossenschaft Bank v.

Meyer (9th Cir. 2017) 869 F.3d 839 (a Ninth Circuit case decided under the

Washington Uniform Fraudulent Transfer Act) and In re Pisculli (Bankr. E.D.N.Y.,

Mar. 4, 2009, No. 805-89678-REG) 2009 WL 700059, at *1, aff'd (E.D.N.Y. 2010)

426 B.R. 52, aff'd (2d Cir. 2011) 408 Fed.Appx. 477 (an unpublished decision from

the bankruptcy court for the Eastern District of New York holding that "the Debtor

had a direct interest in the Proceeds" after he liquidated the corporation's assets,

paid its debts, and the corporation ceased operation). In doing so, the BAP applied

the correct legal standard.

                     i.      The Bankruptcy Trustee’s California Authorities Are
                             Unpersuasive
       Additionally, to the extent the Bankruptcy Trustee’s cites to California

authority for the premise that Debtor’s sole ownership of Coastal shares, those

citations, as noted by the BAP, do not support that conclusion. As by the BAP In re

Retz (9th Cir. 2010) 606 F.3d 1189, 1203 stands only for the “unremarkable

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proposition” that a debtor’s interest in property becomes property of the estate. Id.

(holding that the debtor's six percent interest in a corporation was property of the

estate). This case simply does not support the Trustee's position that, if the debtor owns all

of the stock of the corporation, the assets of that corporation are property of the estate.

       The Bankruptcy Estate’s reliance on Bank of America, N.A. v. Torkan (In re

Yona), Case No. 2:16-bk-17549-ER, 2017 WL 2491493 (Bankr. C.D. Cal. June 8,

2017) for this proposition is similarly misplaced. Although the In re Yona

bankruptcy court held that the debtors' estate included the debtors' shares in two

wholly-owned corporations [Id. at *2], it never said that the assets of the two

corporations were property of the debtors' estate. Rather, the court held that,

because a creditor's liens affected the debtors' property, as well as the

corporations' property, the trustee had exclusive authority to attack those liens. [Id.

at *8] The Bankruptcy Trustee cannot point to similar such encumbrances in the

present case.

           E. Conversion
   Appellant’s theory of conversion is derivative of his claim that Debtor’s

ownership in shares of Coastal Corporation was equivalent to ownership and

control over Coastal’s assets and property. As Appellant acknowledges, ownership

or right to possession in the property is required element of a claim for conversion.

Because, as discussed supra, Debtor had no personal ownership or possessory


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rights to Coastal’s property or assets, it is not possible for Appellant to maintain a

claim for conversion.

   Additionally, the Bankruptcy Trustee’s contemplated conversion claim based

on Kim v. Westmoore Partners, Inc. (2011) 201 Cal.App.4th 267 ignores key

facts. Specifically, the Bankruptcy Trustee skates right past the legal fact that

unless and until Coastal actually liquidated, i.e. paid or provided for all debts,

liabilities and taxes there was not and could not be a fixed, identifiable sum

associated with shares of Coastal. Similarly, the Bankruptcy Trustee ignores the

fact that Coastal continued to owe outstanding tax obligations and make

transactions long after the sale of the Wine Estate Property. There is no basis for a

conclusion that the interest generated by this contemplated claim can supply the

basis for an avoidance claim under 11 U.S.C. 549. The Court should reject this

argument.

          F. Dismissal Without Leave to Amend Was Not An Abuse of
             Discretion
   A bankruptcy court’s dismissal of a complaint without leave to amend is

reviewed under a two-pronged abuse of discretion test. In re Tracht Gut, LLC (9th

Cir. 2016) 836 F.3d 1146, 1150. first, whether the court applied the correct legal

standard; and second, whether the factual findings supporting the legal analysis

were clearly erroneous. In re Veal (B.A.P. 9th Cir. 2011) 450 B.R. 897, 914. A

lower court’s analysis is clearly erroneous when the court then determines findings

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are “illogical, implausible, or without support in inferences that may be drawn

from the record.” “illogical, implausible, or without support in inferences that may

be drawn from the record. Id.

             1. The Bankruptcy Court Applied the Correct Legal Standard

      In granting the 12(b)(6) motion, both the bankruptcy court and the BAP

applied the correct the correct legal standard. The parties do not appear to dispute

this issue. The BAP identified the operative question: can the Bankruptcy Trustee

state an avoidance claim under 11 U.S.C. §549. [1-ER-15-16] Next, the BAP

identified the correct legal standard, i.e. that questions concerning property rights

under 11 U.S.C. §571(a)(1) are evaluated under applicable state law. Id.

             2. The Bankruptcy Court’s Conclusion is not Clearly Erroneous

      The lower court decisions on the specific question of whether or not the

Bankruptcy Estate had an equitable interest in the Net Proceeds was not clearly

erroneous. Primarily, both the bankruptcy court and the BAP rendered their

decision as a question of law. [1-ER-4] In short, it is not that the Bankruptcy

cannot state avoidance claims on the facts in the operative complaint, it is that no

such fact can exist. [Id.] However, even looking at the facts cannot compel a

conclusion that the lower courts’ conclusions are erroneous. The Bankruptcy

Trustee correctly recognizes the equitable character of bankruptcy courts, it does

not state a single fact or authority describing the inequities of the result. Indeed, a


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fact-finder could observe the character of the Parties in this action and conclude

that the same transactions were related to the legitimate dissolution corporate

property between sophisticated parties represented by counsel. The Bankruptcy

Trustee conclusory assumption that Coastal’s use of the proceeds is illegitimate is,

in actuality, unsupported.

      Although Appellee is mindful of this Court’s de novo review, the procedural

record cannot be ignored. This is the Bankruptcy Trustee’s fifth attempt to advance

different versions of the same claim.

                              IX.    CONCLUSION

   Based on the foregoing Appellee Oldfield Creely LLP, Appellee respectfully

requests that this Court affirms both the Judgment and Orders of the Bankruptcy

Court and the Bankruptcy Appellate Panel.



Date: August 21, 2023
                                        KAUFMAN DOLOWICH & VOLUCK, LLP


                                        /s/ Louis H. Castoria
                                        Louis H. Castoria
                                        Arthur S. Gaus
                                        Attorneys for Appellant Oldfield Creely,
                                        LLP




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    X. FORM 17. STATEMENT OF RELATED CASES PURSUANT TO

                              CIRCUIT RULE 28-2.6



9th Cir. Case Number(s)           23-60022

The undersigned attorney or self-represented party states the following:

[ X ] I am unaware of any related cases currently pending in this court.

[ ] I am unaware of any related cases currently pending in this court other than the
    case(s) identified in the initial brief(s) filed by the other party or parties.

[ ] I am aware of one or more related cases currently pending in this court. The
    case number and name of each related case and its relationship to this case are:

Signature /s/ Louis H. Castoria                     Date August 21, 2023
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      XI.   FORM 8. CERTIFICATE OF COMPLIANCE FOR BRIEFS

9th Cir. Case Number(s) 23-60022

      I am the attorney or self-represented party.

      This brief contains         8,257         words, excluding the items exempted

by Fed. R. App. P. 32(f). The brief’s type size and typeface comply with Fed. R.

App. P. 32(a)(5) and (6).

      I certify that this brief (select only one):

[ X ] complies with the word limit of Cir. R. 32-1.

[ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

[ ] is an amicus brief and complies with the word limit of Fed. R. App. P.
  29(a)(5), Cir. R. 29-2(c)(2), or Cir. R. 29-2(c)(3).

[ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

[ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because
  (select only one):
     [ ] it is a joint brief submitted by separately represented parties;
     [ ] a party or parties are filing a single brief in response to multiple briefs; or
     [ ] a party or parties are filing a single brief in response to a longer joint
     brief.

[ ] complies with the length limit designated by court order dated _____________.

[ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


Signature /s/ Louis H. Castoria                       Date August 21, 2023
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                      XII. CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of August, 2023, I electronically filed
the foregoing APPELLEE OLDFIELD CREELY, LLP’S ANSWERING
BRIEF with the Clerk of the Court for the United States Court of Appeals for the
Ninth Circuit using the CM/ECF system which will send notification of such filing
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      Leonard M. Shulman: lshulman@shulmanbastian.com
      Jessica L. Bagdanov: jbagdanov@bg.law , ecf@bg.law
      Steven Todd Gubner: sgubner@bg.law
      Jason Komorsky: jkomorsky@bg.law, ecf@bg.law
      Ryan Daniel O'Dea: rodea@shbllp.com, sswartzell@shbllp.com
      Paul A. Rovella: paul@jrgattorneys.com , michelle@jrgattorneys.com

      I also certify the document and a copy of the Notice of Electronic Filing was
served on the following non-CM/ECF participants: None.

Signature:   /s/ Gwen Wagner                Date: August 21, 2023
             Paralegal to Louis H. Castoria
